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7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZH[FHSWDV
SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

, D      3/$,17,))6                                                                                           '()(1'$176
Brandon Ehlis                                                                                                DAP Products, Inc.

     E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         Hennepin                                       &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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                                                                                                                  
     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
David A. Goodwin
Gustafson Gluek PLLC; 120 South Sixth Street, Suite 2600
(612) 333-8844

,,%$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                     ,,,&,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                                               and One Box for Defendant)
u  86*RYHUQPHQW                 u  )HGHUDO4XHVWLRQ                                        37) '()         37)  '()
        3ODLQWLII                            (U.S. Government Not a Party)                         &LWL]HQRI7KLV6WDWH                              u     u    ,QFRUSRUDWHGor3ULQFLSDO3ODFH                             u     u 
                                                                                                                                                                    RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW                 u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                   &LWL]HQRU6XEMHFWRID                   u          u        )RUHLJQ1DWLRQ                                     u          u 
                                                                                                   )RUHLJQ&RXQWU\
,91$785(2)68,7(Place an “X” in One Box Only)                                                                                                        &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
           &2175$&7                                            72576                                  )25)(,785(3(1$/7<                                    %$1.5837&<                                27+(567$787(6
u   ,QVXUDQFH                    3(5621$/,1-85<            3(5621$/,1-85<         u 'UXJ5HODWHG6HL]XUH                    u $SSHDO86&                      u )DOVH&ODLPV$FW
u   0DULQH                       u $LUSODQH                  u 3HUVRQDO,QMXU\           RI3URSHUW\86&                 u :LWKGUDZDO                             u 4XL7DP 86&
u   0LOOHU$FW                   u $LUSODQH3URGXFW                  3URGXFW/LDELOLW\   u 2WKHU                                        86&                                  D
u   1HJRWLDEOH,QVWUXPHQW                 /LDELOLW\            u +HDOWK&DUH                                                                                                       u 6WDWH5HDSSRUWLRQPHQW
u   5HFRYHU\RI2YHUSD\PHQW      u $VVDXOW/LEHO                   3KDUPDFHXWLFDO                                                        3523(57<5,*+76                           u $QWLWUXVW
        (QIRUFHPHQWRI-XGJPHQW             6ODQGHU                      3HUVRQDO,QMXU\                                                    u &RS\ULJKWV                             u %DQNVDQG%DQNLQJ
u   0HGLFDUH$FW                 u )HGHUDO(PSOR\HUV¶                3URGXFW/LDELOLW\                                                  u 3DWHQW                                 u &RPPHUFH
u   5HFRYHU\RI'HIDXOWHG                 /LDELOLW\            u $VEHVWRV3HUVRQDO                                                     u 3DWHQW$EEUHYLDWHG                   u 'HSRUWDWLRQ
       6WXGHQW/RDQV                u 0DULQH                            ,QMXU\3URGXFW                                                      1HZ'UXJ$SSOLFDWLRQ                u 5DFNHWHHU,QIOXHQFHGDQG
        ([FOXGHV9HWHUDQV           u 0DULQH3URGXFW                    /LDELOLW\                                                         u 7UDGHPDUN                                   &RUUXSW2UJDQL]DWLRQV
u   5HFRYHU\RI2YHUSD\PHQW               /LDELOLW\             3(5621$/3523(57<                      /$%25                               62&,$/6(&85,7<                            u &RQVXPHU&UHGLW
       RI9HWHUDQ¶V%HQHILWV        u 0RWRU9HKLFOH             u 2WKHU)UDXG             u )DLU/DERU6WDQGDUGV                    u +,$ II                                  86&RU
u   6WRFNKROGHUV¶6XLWV          u 0RWRU9HKLFOH             u 7UXWKLQ/HQGLQJ             $FW                                    u %ODFN/XQJ                         u 7HOHSKRQH&RQVXPHU
u   2WKHU&RQWUDFW                        3URGXFW/LDELOLW\     u 2WKHU3HUVRQDO          u /DERU0DQDJHPHQW                        u ',:&',::  J                            3URWHFWLRQ$FW
u   &RQWUDFW3URGXFW/LDELOLW\   u 2WKHU3HUVRQDO                    3URSHUW\'DPDJH           5HODWLRQV                              u 66,'7LWOH;9,                         u &DEOH6DW79
u   )UDQFKLVH                             ,QMXU\                u 3URSHUW\'DPDJH         u 5DLOZD\/DERU$FW                       u 56,  J                             u 6HFXULWLHV&RPPRGLWLHV
                                     u 3HUVRQDO,QMXU\                 3URGXFW/LDELOLW\    u )DPLO\DQG0HGLFDO                                                                        ([FKDQJH
                                              0HGLFDO0DOSUDFWLFH                                      /HDYH$FW                                                                           u 2WKHU6WDWXWRU\$FWLRQV
       5($/3523(57<                     &,9,/5,*+76            35,621(53(7,7,216          u 2WKHU/DERU/LWLJDWLRQ                    )('(5$/7$;68,76                          u $JULFXOWXUDO$FWV
u   /DQG&RQGHPQDWLRQ            u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV             u (PSOR\HH5HWLUHPHQW                     u 7D[HV 863ODLQWLII                  u (QYLURQPHQWDO0DWWHUV
u   )RUHFORVXUH                  u 9RWLQJ                    u $OLHQ'HWDLQHH               ,QFRPH6HFXULW\$FW                          RU'HIHQGDQW                          u )UHHGRPRI,QIRUPDWLRQ
u   5HQW/HDVH (MHFWPHQW       u (PSOR\PHQW                u 0RWLRQVWR9DFDWH                                                     u ,56²7KLUG3DUW\                             $FW
u   7RUWVWR/DQG                u +RXVLQJ                        6HQWHQFH                                                                  86&                           u $UELWUDWLRQ
u   7RUW3URGXFW/LDELOLW\                $FFRPPRGDWLRQV        u *HQHUDO                                                                                                            u $GPLQLVWUDWLYH3URFHGXUH
u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV    u 'HDWK3HQDOW\                    ,00,*5$7,21                                                                            $FW5HYLHZRU$SSHDORI
                                              (PSOR\PHQW               2WKHU                     u 1DWXUDOL]DWLRQ$SSOLFDWLRQ                                                                $JHQF\'HFLVLRQ
                                     u $PHUZ'LVDELOLWLHV    u 0DQGDPXV 2WKHU        u 2WKHU,PPLJUDWLRQ                                                                    u &RQVWLWXWLRQDOLW\RI
                                              2WKHU                 u &LYLO5LJKWV              $FWLRQV                                                                                6WDWH6WDWXWHV
                                     u (GXFDWLRQ                 u 3ULVRQ&RQGLWLRQ
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925,*,1(Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHGIURP                u         5HPDQGHGIURP           u  5HLQVWDWHGRU              u  7UDQVIHUUHGIURP
                                                                                                                                                u  0XOWLGLVWULFW                                          u 0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH&RXUW                             $SSHOODWH&RXUW             5HRSHQHG                        $QRWKHU'LVWULFW       /LWLJDWLRQ                                          /LWLJDWLRQ
                                                                                                                       (specify)                        7UDQVIHU                                              'LUHFW)LOH
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                          28 U.S.C. § 1332(d)(2)
9,&$86(2)$&7,21                     %ULHIGHVFULSWLRQRIFDXVH
                                          Defendant’s misrepresentations regarding its product
9,,5(48(67(',1    u &+(&.,)7+,6,6$&/$66$&7,21                                                '(0$1'                                                 &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
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9,,,5(/$7('&$6( 6
                       (See instructions):
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'$7(                                                                    6,*1$785(2)$77251(<2)5(&25'
08/31/2020                                                             s/ David A. Goodwin
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